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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax: 916-498-5710
5    Attorney for Defendant
     JESUS IVAN RENDON-GUTIERREZ
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7
                                  IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:19-mj-0074 AC
                                                  )
11                   Plaintiff,                   )   STIPULATION AND ORDER
                                                  )   TO EXTEND TIME FOR PRELIMINARY
12   vs.                                          )   HEARING AND EXCLUDE TIME
                                                  )
13   JESUS IVAN RENDON-GUTIERREZ,                 )
                                                  )   DATE:    May 31, 2019
14                   Defendant.                   )   TIME:    2:00 p.m.
                                                  )   JUDGE:   Hon. Deborah Barnes
15                                                )
16            Plaintiff, United States of America, by and through Assistant United States Attorney
17   James Conolly, and Defendant Jesus Ivan Rendon-Gutierrez, through his attorney Hannah R.
18   Labaree, of the Office of the Federal Defender, hereby stipulate to continue the Preliminary
19   Hearing set for May 31, 2019 to June 14, 2019, at 2:00 p.m.
20            The parties agree that the time beginning from the date of this stipulation extending
21   through June 14, 2019, should be excluded from the calculation of time under the Speedy Trial
22   Act. Further, the Defendant consents to an extension of the time for a Preliminary Hearing until
23   June 14, 2019. Fed.R.Crim.P. 5.1(d). The parties submit that the ends of justice are served by
24   the Court excluding such time, so that they may have reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). In
26   particular, the time is required so that the parties can conduct investigation and the government
27   can provide advance discovery to defense counsel. Mr. Rendon-Gutierrez consents to this
28   continuance.

       Stipulation and Order
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1            The parties stipulate that the interests of justice outweigh the interest of the public and the
2    defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that this good cause
3    outweighs the public’s interest in the prompt disposition of criminal cases. Fed.R.Crim.P. 5.1(d).
4    Dated: May 24, 2019                            Respectfully submitted,
5                                                   HEATHER E. WILLIAMS
                                                    Federal Public Defender
6
7                                                   /s/ Hannah R. Labaree
                                                    HANNAH R. LABAREE
8                                                   Attorney for Defendant
                                                    JESUS IVAN RENDON-GUTIERREZ
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10
     Dated: May 24, 2019                            PHILLIP A. TALBERT
11                                                  Acting United States Attorney

12                                                  /s/ James Conolly_____
                                                    JAMES CONOLLY
13                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
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      Stipulation and Order
        Case 2:20-cr-00019-JAM Document 9 Filed 05/29/19 Page 3 of 3


1                                                      ORDER
2            The Court has read and considered the Stipulation for the Extension of Time for
3    Preliminary Hearing pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this
4    matter. The Court hereby finds that the Stipulation, which this Court incorporates by reference
5    into this Order, demonstrates good cause for an extension of time for the Preliminary Hearing
6    date, pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure.
7            Furthermore, for the reasons set forth in the parties’ Stipulation, the Court finds that the
8    interests of justice served by granting this continuance outweigh the best interests of the public
9    and defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the
10   extension of time would not adversely affect the public’s interest in the prompt disposition of
11   criminal cases.
12           THEREFORE, FOR GOOD CAUSE SHOWN:
13           1. The date of the Preliminary Hearing is extended to June 14, 2019, at 2:00 p.m.
14           2. This time up to and including June 14, 2019 shall be excluded from the calculation
15   pursuant to 18 U.S.C. §3161(h)(7)(A) and Federal Rule of Criminal Procedure 5.1(d).
16           IT IS SO ORDERED.
17   Dated: May 29, 2019
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      Stipulation and Order
